Case 1:15-cv-01659-KM Document 83 Filed 07/11/17 Page 1of1

AO 450 (Rev. 11/11) Judgment in a Civil Action

UNITED STATES DISTRICT COURT

for the

Middle District of Pennsy!vani

MICHAEL RIVERA

 

Plaintiff
Vv

. Civil Action No. 1:15-CV-1659
C.O.I J. O'HAIRE, et al

 

Defendant

i

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

LJ] the plaintiff (name) recover from the

defendant (name) the amount of
dollars ($ ), which includes prejudgment

interest at the rate of %, plus post judgment interest at the rate of % per annum, along with costs.

L] the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

1 other: Judgment in favor of defendants and against the plaintiff.

 

 

This action was (check one):

 

 

 

 

 

XX] tried by a jury with Judge Karoline Mehalchick presiding, and the jury has
rendered a verdict.

] tried by Judge without a jury and the above decision
was reached.

[] decided by Judge on a motion for

Date: 07/11/2017 MERK OF COURT

 

() Signature of Clerk or Deputy Clerk
